       Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 1 of 43




                            UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS - WICHITA


                                                       X
Ad Astra Recovery Services, Inc.                            Civil Action No.:

                               Plaintiff,

        vs.

John Clifford Heath, Esq.; John C. Heath, Attorney
at Law, PLLC d/b/a Lexington Law Firm;
Progrexion Holdings, Inc. d/b/a “Progrexion;”
Progrexion Teleservices, Inc. d/b/a “Progrexion;”
Kevin Jones, Esq.; Adam C. Fullman, Esq.;
Lexington Consumer Advocacy, Inc.; and XYZ
Corps. 1-20; John Does 1-20.

                               Defendant.

                                            COMPLAINT

      1.        Plaintiff, Ad Astra Recovery Services, Inc. (“Ad Astra”), brings this action against
John Clifford Heath, Esq. (“Heath”), John C. Heath, Attorney at Law, PLLC d/b/a Lexington Law
Firm (“Lexington Law”), Progrexion Holdings, Inc. d/b/a “Progrexion,” (“Progrexion Holdings”)
Progrexion, Inc. d/b/a “Progrexion,” Progrexion Teleservices, Inc. d/b/a “Progrexion,”
(“Progrexion Teleservices”) (collectively referred to as “Progrexion Entities”), Kevin Jones, Esq.
(“Jones”), Adam C. Fullman, Esq. (“Fullman”), Lexington Consumer Advocacy, LLC
(“Lexington Advocacy”), XYZ Corps. 1-20, and John Does 1-20 (collectively, the “Defendants”)
for violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §
1961 et seq., as well as Tortious Interference with Existing Contractual Relations and Fraud and
alleges as follows:




152153.00601/107065388v.6
       Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 2 of 43




                                     The Racketeering Scheme

      2.        Ad Astra, a debt collection agency and credit furnisher in Wichita, Kansas, 1 brings
this suit to remedy injuries it suffered, and continues to suffer, because of Defendants’ predatory
and fraudulent “credit repair” scheme.

      3.        From in or about January 2014 to the present, Defendants engaged in a fraudulent
credit repair scheme designed to bombard debt collectors with false credit dispute letters with the
intention of deceiving debtor collectors, like Plaintiff, and frustrating their efforts to collect
legitimate debts.

                            Background of the Credit Repair Scheme

      4.        Pioneered by Heath, the principal of Lexington Law, Defendants prey upon the
consumers that they purport to represent and defraud the credit and collections community.

      5.        Using aggressive marketing techniques, Defendants solicit unsuspecting,
financially troubled consumers and persuade them to sign up for their “credit repair” services.
What Defendants do not tell the consumers is that the service they are pushing—to flood the
consumers’ creditors with generic (likely frivolous) credit report dispute letters—is something that
Defendants cannot do in the manner in which they do it (that the consumers can do themselves,
for free), and which is illegal and fraudulent.

      6.        To carry out this fraudulent scheme, Defendants require that the consumer sign a
“power of attorney” form permitting Defendants to draft and sign letters in their name. But, Utah
law requires that letters sent by an attorney indicate that they are from the attorney. Defendants
intentionally disregard Utah and other laws and generate and transmit mass credit dispute letters
to creditors and collection agencies, like Plaintiff, by forging the consumer’s signatures, without
any indication that they are actually prepared and transmitted by Defendants.




1
  “An entity that furnishes information relating to consumers to one or more consumer reporting agencies
for inclusion in a consumer report.” 12 C.F.R. § 1022.41(c) (2015).


                                                  -2-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 3 of 43




      7.          Defendants’ conduct is all the more egregious because they intentionally
circumvent the confines of the Fair Credit Reporting Act, 15 U.S.C. § 1681 (hereinafter “FCRA”)
by the manner in which they prepare and send the disputes.

      8.          In other words, a credit furnisher, like Ad Astra, is required to comply with certain
onerous investigative requirements (as described below) when it receives a dispute directly from
a consumer. It is not, however, required to investigate a disputed item of information it receives
from a credit repair organization (like Defendants). 2 Here, Defendants intentionally manufactured
and delivered fraudulent letters to Plaintiff with the goal of circumventing the restrictions of the
FCRA.

      9.          Many consumers had no idea that fraudulent credit repair letters were being sent
with their signatures.

      10.         Defendants were acting in concert with affiliated, mass-mailing companies to
inundate Ad Astra with letters that the consumers on their own would not otherwise be able to
effectuate in like volume. Ad Astra received atleast 75,000 dispute letters from the Defendants
over the past four years (not including the 200,000 electronic disputes it receives from them each
year).

      11.         Lexington Law and its affiliates brag on its website that it secured the removal of
9,000,000 tradelines, 3 but they do not disclose that they would have been unable to achieve such
results had it not been for this illegal conduct.

      12.         Defendant’s fraudulent credit repair letters bare striking resemblance to each
other—they contain similar language, recycled signatures, and unique stamps. In some cases, the
signatures for the same consumer varied by letter, and in others, dispute correspondence was
received from consumers that passed away.



2
  See 12 C.F.R. § 1022.43(b)(2) (2015). See also 16 C.F.R. § 660.4(b)(2) (2015); 15 U.S.C. §1681s-
2(a)(8)(G) (2012) [§ 623(a)(8)(G)] and 15 U.S.C. § 1679a(3)(B)(i) (2012) [§ 403(3)(B)(i)] for the
applicable definition of a credit repair organization.
3
 A tradeline is an account listed on a consumer’s credit report. Each separate account constitutes a different tradeline.
The tradeline information is provided by a credit furnisher (like Ad Astra) to the pertinent credit reporting agency.



                                                          -3-
152153.00601/107065388v.6
       Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 4 of 43




      13.       The fraudulent credit repair scheme has resulted in substantial damages to Plaintiff,
including: (1) losses in revenue; (2) forced staff increases to manage the overwhelming influx of
fraudulent correspondence; (3) costs associated with responding to the correspondence; (4) counsel
fees; and (5) client relationships.

                                              Parties

      14.       Plaintiff Ad Astra is, and at all times herein mentioned was, a corporation duly
organized and existing under the laws of the State of Nevada. Ad Astra is a debt collection agency
and maintains a principal place of business in Wichita, Kansas. Ad Astra is a credit furnisher, as
defined by Regulation V, 12 CFR Part 1022. Ad Astra is accredited by the Better Business Bureau
and duly licensed by various states and municipalities throughout the United States.

      15.       Defendant Lexington Law is a law firm and Utah professional limited liability
company that holds itself out as a Credit Repair Organization. Its principal place of business is
located at 360 N. Cutler Drive, North Salt Lake Utah, 84054.

      16.       Defendant Heath is a natural person residing in Utah. He is the “mastermind” of
the fraudulent scheme, the principal (and a Directing Attorney) of Lexington Law, and admitted
to practice law in Utah, Colorado, Washington D.C., Georgia, Texas, and New York.

      17.       Lexington Consumer Advocacy, LLC is a limited liability company organized and
existing under the laws of the State of Nevada. Its principal place of business is located at 427 N.
Tatnall Street #83166, Wilmington, Delaware, 19801-2230. It also holds itself out as a Credit
Repair Organization and operates in concert with Lexington Law and its affiliates.

      18.       Defendant Jones is a natural person residing in Utah. Jones is the Directing
Attorney of Operations and Chief Compliance Officer for Lexington Law. He is admitted to
practice law in Florida, Utah, Maine and New Jersey.

      19.       Defendant Fullman is a natural person residing in California.          Fullman is a
Directing Attorney at Lexington Law. He is also the founder of the Fullman Law Firm, P.C., d/b/a
Lexington Law California (“Lexington Law California”) (a law firm specializing in consumer




                                                 -4-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 5 of 43




credit law and debt settlement, and an affiliate of Lexington Law and Lexington Advocacy 4).
(However, its website does not advertise its affiliation, or Fullman’s affiliation, with Lexington
Law. 5)

        20.        Lexington Law and Lexington Advocacy are collectively referred to herein as the
“Lexington Law Association.”

        21.        Defendant Progrexion Holdings, Inc. d/b/a “Progrexion” is, and at all times herein
mentioned was, a corporation organized and existing under the laws of the State of Delaware. Its
principal place of business is located at 330 N. Cutler Drive, North Salt Lake, Utah, 84054 (the
same office complex as Lexington Law).

        22.        Defendant Progrexion Teleservices, Inc. d/b/a “Progrexion” is, and at all times
herein mentioned was, a corporation organized and existing under the laws of the State of
Delaware. Its principal place of business is located at 330 N. Cutler Drive, North Salt Lake, Utah,
84054 (the same office complex as Lexington Law).

        23.        The Progrexion Entities are the Lexington Law Associations’ letter printer, mass-
mailer, and conceded affiliates. 6 Among other things, the Progrexion entities provide “dynamic,
patent-pending processes and tools that assist consumers in achieving all [their credit repair]
aims” 7 and they “prepare and dispatch” a “round[s] of communications” to creditors and credit
bureaus. 8

        24.        The Progrexion Entities’ website admits “[t]hrough its leading consumer brands,
Lexington Law and CreditRepair.com, Progrexion helps clients frame the right questions about




4
    https://www.fullmanfirm.com/
5
    https://www.fullmanfirm.com/
6
    https://www.lexingtonlaw.com/
7
    https://www.progrexion.com/what-we-do/our-services
8
    https://www.progrexion.com/what-we-do/how-it-works




                                                         -5-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 6 of 43




their credit, and to direct those questions to the right people, in order to ensure that credit reports
remain fair, accurate, and entirely substantiated.” 9

        25.       Defendants John Does Nos. 1-20 (the “Does”) are additional individuals that
participated in the fraudulent scheme but whose identities and/or roles are not yet known. At such
time as the true names and/or roles of the Does become known, Ad Astra will amend this
Complaint accordingly.

        26.       Defendants XYZ Corp. Nos. 1-20 (the “Unknown Entities”) are additional entities
that participated in the fraudulent scheme but whose names and/or roles are not yet known. As
such time as the true names and/or roles of the Unknown Entities becomes known, Ad Astra will
amend this Complaint accordingly.

        27.       Ad Astra is informed and believes, and based thereon alleges, that at the time of the
acts, conditions, and events alleged in this Complaint, each of the defendants was acting as the
agent, servant, employee, officer, director, partner, joint venturer, principal, master, manager,
employer, and/or alter ego of each of the other defendants and is liable, directly and/or vicariously,
for the wrongful acts and omissions of each of the Defendants that are the subject of this
Complaint.

                                            Jurisdiction and Venue

        28.       This Court has jurisdiction over the claims for relief arising under RICO, pursuant
to 28 U.S.C. § 1331 and 18 U.S.C. § 1964 because this cases arises under the laws of the United
States.

        29.       Supplemental jurisdiction exists over the state law causes of action pursuant to 28
U.S.C. § 1367(a) and 28 U.S.C. § 1332 because there is complete diversity of citizenship and the
amount in controversy exceeds $75,000.00.

        30.       Declaratory relief is available under 28 U.S.C. §§ 2201 & 2202, and 18 U.S.C. §
1964(a).



9
    https://www.progrexion.com/what-we-do



                                                     -6-
152153.00601/107065388v.6
          Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 7 of 43




         31.       Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the
events giving rise to these claims occurred in this District. Venue is also proper under 18 U.S.C.
§ 1965 because Defendants transact business within this District.

                    FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         i.        Background on Credit Repair Organizations

         32.       In September 2016, the Consumer Financial Protection Bureau issued a consumer
advisory to alert consumers to companies that engage in potentially misleading credit repair
services. 10 Among other things, it said:

         Some credit repair companies recognize this fact [that consumers with financial troubles
         struggle to repair their credit] and have developed creative marketing tactics to target you.
         Sometimes this marketing includes confusing and misleading messaging aimed at taking
         advantage when you’re just trying to get your financial life back on track. Credit repair
         companies often promise to improve your credit report by contacting credit reporting
         agencies on your behalf and challenging items on the reports. The fees these types of
         companies may charge are often high. You also can’t remove negative information if it’s
         accurate, and you might end up paying for no results.

         33.       Also, “[u]nder the Fair Credit Reporting Act, you have a legal right to dispute credit
history errors yourself for free. You don’t have to pay a credit repair company to do it for you.”
Id. at p. 2.

         34.       Credit Repair Organizations are governed by, among other things, the Credit Repair
Organization Act, 15 U.S.C. § 1679a.

         ii.       Defendants’ Businesses

         35.       According to its website, 11 Lexington Law emphasizes “strict regulatory
compliance” and claims it has “redefined” the credit repair landscape. Lexington Law claims it
developed tools and strategies that have proven effective at removing unfair, inaccurate, and
unsubstantiated items on its clients’ credit reports. It claims it “understand[s] the applicable



10
     https://s3.amazonaws.com/files.consumerfinance.gov/f/documents/092016_cfpb_ConsumerAdvisory.pdf

11
     https://www.lexingtonlaw.com.




                                                      -7-
152153.00601/107065388v.6
          Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 8 of 43




consumer protection laws” and “leverage[s] those legal rights” so that a consumers’ credit report
is fair, accurate, and substantiated.” It claims to use its 27+ years of experience to help “many
clients to turn their lives around.” In 2016 alone, it claims “9,000,000 negative items” were
removed from its clients’ credit reports.

         36.       Among other things, Lexington Law says it accomplishes these goals by reviewing
its clients’ credit reports and “directing appropriate correspondence” to their creditors and the
credit bureaus.

         37.       Lexington Law is not accredited by the Better Business Bureau, and, of the 223
reviews, 171 were negative, 48 were positive, and 4 were neutral.

         38.       Lexington Law offers three plans for its services, 12 all of which include credit repair
services:

                   •   For the “PremierPlus” program, a consumer pays a $129.95 one-time “First
                       Work Fee” and $129.95 per month thereafter;
                   •   For the “Concord Premier” program, a consumer pays a $109.95 one-time
                       “First Work Fee” and $109.95 per month thereafter; and
                   •   For the “Concord Standard” plan, a consumer pays an $89.95 one-time “First
                       Work Fee” and $89.95 per month thereafter.


         39.       The Progrexion Entities’ website makes identical claims as Lexington Law, and
says “[w]e help leverage applicable consumer protection laws to ensure that credit report data is
fairly reported, 100% accurate, and thoroughly substantiated.” 13

         40.       In connection with its credit repair services, Lexington Law insists that its clients
execute the following Power of Attorney form:

                   Lexington Law will do its best to restore your good credit. To do so,
                   we need your permission from you to write and sign letters to the credit
                   bureaus and creditors in your name. By granting Lexington a power of

12
     https://www.lexingtonlaw.com/credit-repair-services/costs.
13
     https://www.progrexion.com/what-we-do/our-services



                                                          -8-
152153.00601/107065388v.6
          Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 9 of 43




                   attorney you give Lexington permission to write letters on your behalf.
                   Your electronic signature is a Power of Attorney and authorizes us to
                   represent you under the Fair Credit Reporting Act and other laws. You
                   may cancel your electronic authorization by sending the law firm an
                   email notifying us that you retract your electronic authorization. Since
                   we will not be able to represent you without this electronic
                   authorization, cancelling it will also close your account.

         41.       Under Utah law, this Power of Attorney does not authorize Lexington Law to sign
letters on behalf of the consumers without indication that the letters are coming from Lexington
Law.

         42.       Also, the Power of Attorney is void and unenforceable under Utah’s Power of
Attorney Act, which directs that the following language be used on any power of attorney form:
“Agent shall disclose your identity as an agent whenever you act for the principal by writing or
printing the name of the principal and signing your own name as ‘agent’ in the following manner:
(Principal’s Name) by (your Signature) as Agent.” See Utah Code § 75-9-301.

         43.       According to its website, 14 Lexington Law has a network of thirty (30) attorneys.

         44.       Lexington Law purports to have offices in numerous states outside of Utah,
sometimes affiliated with local, “of counsel” law firms, including Arizona, Alabama, New Mexico,
California, Delaware, Illinois, Louisiana, Kansas, Missouri, Maine, Maryland, Michigan,
Mississippi, Nevada, North Carolina, New York, Ohio, Pennsylvania, West Virginia, South
Carolina, and Virginia. It addition to Lexington Law California, other affiliated law firms include
the Law Offices of LCM, P.C. d/b/a Lexington Law Group Illinois, P.C. and Lexington Law North
Carolina.

         45.       Many of the affiliated law firms/attorneys practice in areas primarily unrelated to
credit repair, like criminal law, trusts and estates, and personal injury.

         46.       Lexington Law aggressively solicits its clients, and has been sued numerous times
for violating the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq (the “TCPA”) as a




14
     https://www.lexingtonlaw.com/about-lexington-law/profiles



                                                        -9-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 10 of 43




result of its telemarketing efforts. The TCPA complaints generally allege that Lexington Law
engages in unsolicited attorney advertising and SPAM.

        iii.      The Overwhelming Influx of Similar FCRA Dispute Letters
        47.       On or about January 2014, Ad Astra began receiving an influx of dispute letters
(purportedly from consumers) concerning the accuracy of their credit reports.

        48.       The FCRA requires extensive administrative action by a credit furnisher when a
consumer directly disputes their consumer report. Among others, a furnisher must:

        (1) Conduct a reasonable investigation with respect to the disputed information;

        (2) Review all relevant information provided by the consumer with the dispute
        notice;

        (3) Complete its investigation and report the results of the dispute investigation
        to the consumer within thirty (30) days. If the consumer provides additional
        relevant information after the start of an investigation, the furnisher will have
        forty-five (45) days to complete the investigation; and

        (4) If the investigation finds that the information reported was inaccurate,
        promptly notify each Consumer Reporting Agency that the furnisher provided
        inaccurate information to of that determination, and provide the Credit Reporting
        Agency with any correction to the information that is necessary to make the
        information provided by the furnisher accurate. 15

        49.       If it’s determined that a dispute is frivolous or irrelevant, including by reason of a
failure by the consumer to provide sufficient information to investigate the disputed information,
or a substantially similar dispute is received that was previously reviewed and discredited, the
investigation can be terminated, and the consumer must be notified within five (5) business days
of that determination. 16

        50.       This “dispute” provision of the FCRA states that “[t]his paragraph shall not apply
if the notice of the dispute is submitted by, is prepared on behalf of the consumer by, or is submitted



15
  See 12 C.F.R. § 1022.43(e) (2015). 16 C.F.R. § 660.4(e) (2015). See also 15 U.S.C. § 1681s-2(b)(1)
(2012) [§ 623(b)(1)].
16
     See 15 U.S.C. § 1681s-2(8)(F).




                                                  -10-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 11 of 43




on a form supplied to the consumer by, a credit repair organization, as defined in section
1679a(3) of this title, or an entity that would be a credit repair organization, but for section
1679a(3)(B)(i) of this title.” 17

      51.       Ad Astra meticulously follows these administrative requirements, and acts
accordingly in response to disputes received.

      52.       While it is not uncommon for Ad Astra to receive FCRA dispute letters, the volume,
content, format, and manner of mailing of the suspect letters was similar.

      53.       Many of them contained affixed postage stamps that had an image of a sun shape,
leaf, or a circle shape filled with stars. The format and spacing of each letter was similar, and the
way that the envelopes were printed and addressed was identical. The font used in each letter was
identical, or purposefully varied. Curious verbiage was used—primarily too formal or which used
uncommon, British phrases (for example, “problems may be extant,” “I must request,” “I must
ask,” “I must demand,” “the unverified account,” the “unvalidated account,” “the questionable
account,” “the suspicious account,” “the so-called account,” “the ostensible account,” “the asserted
account,” “the alleged account,” “I want more than,” “this request is for more than,” “this is not a
request for,” “vacate such bureau items,” “kindly vacate that bureau material,” “kindly recall such
tradelines,” “rescind that bureau material,” “I remain appreciative,” “I appreciate your attending
to this circumstance,” “malevolent,” “deleterious,” “in alignment with,” “materials dispatched
from your company,” “any data dispatched,” and “I am grateful for your examining this
circumstance.” Most of the letters concluded with some variation of quickly, such as “soon,”
“immediately,” “promptly,” “as soon as possible,” “now,” “rapidly,” and “straightaway.” Even
the signatures on the letters resembled each other. Also, many of them had a similar type-o in Ad
Astra’s name, spelling it as “Ad Astra Recovery Servic” or “Ad Astra Recovery Serv.”




 See 15 U.S.C. § 1681s-2(8)(G). The exclusionary language of section 1679a(3)(B)(i) is inapplicable to
17

Defendants.




                                                -11-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 12 of 43




         54.        By and large, the dispute letters did not indicate that they came from Defendants or
any affiliated individual or company. 18

         55.        Over the span of the past four (4) years, Ad Astra received approximately 75,000
such (written) dispute letters. In one case, Ad Astra received eleven dispute letters that supposedly
originated with “SJ.” 19 Later, Ad Astra learned (from a CFPB complaint SJ filed) that she had
retained Lexington Law. Upon reviewing SJ’s file, Ad Astra noted that her signature on the dispute
letters received did not always match. See Exhibit A.

         56.         In another case, “KB” requested that Ad Astra respond to him by forwarding its
response to the Legal Department at Lexington Advocacy. See Exhibit B.

         57.        Ad Astra also received phone calls from consumers who stated that they had never
seen or signed dispute letters that Ad Astra received from them (in a manner that appeared to be
directly from them, signed by them).

         58.         Affected consumers also informed Ad Astra that they never provided Lexington
Law with permission to sign the dispute letters in their name, without indication that the letters
were actually coming from Lexington Law. When Ad Astra began comparing the signatures of
the consumers on the dispute letters with their signatures on documents that the consumers
executed in connection with their debts, it was evident that they did not match.

         59.         Ad Astra even came across a file where a consumer named “TW” passed away (on
January 10, 2018), but miraculously sent two (2) dispute letters, supposedly from him and signed
by him (but in the format, content and envelope-type of Lexington Law), after his death (on
February 8, 2018 and March 9, 2018). TW’s Death Certificate and “zombie” dispute letters are
annexed hereto as Exhibit C.




18
  In some instances, like Exhibit B, below, responses to Ad Astra’s responses to the consumer dispute letters requested
that further responses be directed to the Lexington Law Association.
19
     The consumer’s full name has been redacted to protect her privacy.




                                                         -12-
152153.00601/107065388v.6
         Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 13 of 43




         60.        Ad Astra also began to piece together that electronic “eOscar” disputes (electronic
FCRA disputes which can be submitted by the consumer to dispute tradelines under the FCRA 20)
were coming from Lexington Law, even though they were in the name of the consumer and did
not indicate that they were actually coming from Defendants. These “eOscar” disputes also
required manpower to address, and costs to respond to. Ad Astra believes it has received
approximately 200,000 such disputes, attributable to Defendants, each year.

         61.        The Lexington Law Association and individual defendants acted in concert with
the Progrexion Entities, their admitted affiliates, to print and mail (or submit) the dispute
correspondence. This connection makes sense considering the recycled, computerized signatures,
way in which the envelopes are printed and addressed, the similar array of stamps, volume, and
fact that the vast majority of envelopes (see exhibits attached hereto) did not indicate, as mailings
typically do, where they originated.

         62.        The Defendants fraudulent credit repair letters are systematic and the false
statements therein are material. Defendants well know that, under the FCRA, if a dispute letter
(or correspondence) comes from a consumer, it must be processed and their credit reports must be
marked to indicate that the subject debt is “disputed.” Contrarily, if such a dispute comes from a
Credit Repair Organization, these administrative actions need not be taken.

         63.        In short, Defendants developed a massive, fraudulent scheme to collect money to
perform a service that they were not legally able to perform in the manner performed.

         64.        This disregard of the confines of the FCRA is Defendants’ bread and butter, and
how they are able to proclaim that they secured “9,000,000 credit bureau deletions.”

         65.        Plaintiff suspects that similar dispute correspondence is sent by Defendants
regardless of whether the dispute is actually legitimate.

         66.        But for Defendants’ fraudulent scheme, consumers would be unable to send FCRA
dispute correspondence en masse.




20
     http://www.e-oscar.org/



                                                   -13-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 14 of 43




      67.       But for Lexington Law’s conduct in soliciting clients, it would not have the volume
of consumer-clients to send dispute correspondence en masse.

      68.       But for Lexington Law’s fraudulent scheme, the dispute correspondence would
have been invalid under the FCRA and would not have required Ad Astra to expend such
significant resources to address. It also would not have frustrated Ad Astra’s collection efforts as
it did.

      v.        The Confrontation and Subsequent Cover-Up
      69.       Armed with information regarding the source of the fraudulent letters, Ad Astra’s
then-CEO, Dave Newman (“Newman”) arranged a meeting with Heath in an attempt to address
the crippling influx of correspondence.

      70.       In September 2017, Newman called Heath and requested a meeting. Heath agreed
to a meeting, which took place at Lexington Law’s Utah office on September 6, 2017. Newman
advised him of the logistical problems Ad Astra was having with their robo-disputes, and advised
Heath of the number of disputes Ad Astra believed it was receiving from the Defendants and
associated individuals/entities. Heath acted clueless about the volume (but did not deny the
possibility that Newman’s numbers were accurate), and agreed to provide Newman with an exact
breakdown.

      71.       Heath also admitted that Defendants’ clients were not signing the dispute letters—
that they were in fact being generated and signed by a computer. Apparently, the “computer” had
several signature options, which randomly varied as the letters were generated, which explained
the similar signatures that Ad Astra had already observed.

      72.       Newman explained the damage to Ad Astra in terms of wasted time, postage, and
other costs associated with processing and responding to each and every dispute, and suggested
that the parties consider some mechanism to offset the influx. At one point, Heath contacted
Lexington Law’s CFO (name unknown) to weigh in (which seemed strange to Newman since the
principal was deferring to the company’s CFO on such a topic), but nothing came of it. Newman
was invited to follow-up.




                                               -14-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 15 of 43




      73.       Newman followed-up with Heath several times thereafter, by phone and email, but
he never received a response.

      74.       Upon information and belief, Heath ignored Newman’s follow-up inquiries because
he did not want to further incriminate himself or the Defendants.

      75.       Despite Ad Astra “outing” the Defendants’ fraudulent scheme, Ad Astra continues
to receive the fraudulent credit repair dispute correspondence from them.

      vi.       Further Allegations of Defendants’ Involvement in the Fraudulent scheme

      76.       Heath, as a Directing Attorney and principal of Lexington Law, personally
implemented, and/or with knowledge such practices were contrary to law, acted consistent with,
managed, oversaw, and enforced all of the illegal policies and procedures used by the Defendants
that are alleged in this Complaint.

      77.       Jones, who is responsible for day-to-day management and legal compliance of
Lexington Law, personally implemented, and/or with knowledge such practices were contrary to
law, acted consistent with, managed, oversaw, and enforced all of the illegal policies and
procedures used by Defendants that are alleged in this Complaint.

      78.       Fullman, as Directing Attorney of Lexington Law and Lexington Law California,
personally implemented, and/or with knowledge such practices were contrary to law, acted
consistent with, managed, oversaw, and enforced all of the illegal policies and procedures used by
Defendants that are alleged in this Complaint.

      vii.      Further Allegations of Racketeering Activity

      79.       The fraudulent credit repair letters and eOscar disputes were furnished to mislead
Ad Astra into believing that the consumers were acting on their own to dispute their debts.

      80.       They were also furnished to prevent Ad Astra and other debt collection agencies
from learning of the existence of the fraudulent scheme, and to frustrate its collection efforts.
Defendants attempted to conceal this fraudulent scheme by attempting to disguise the signatures
and dispute letters through the use of rotating templates and computerized signatures.



                                                 -15-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 16 of 43




      81.        Ad Astra reasonably relied upon these fraudulent misrepresentations because it had
no reason to suspect that Defendants would lie about the source of the dispute correspondence.

      82.        Defendants made hundreds of thousands of fraudulent and false statements and
misrepresentations through the wires and mails, over the course of a four (4) year period.

      83.        These fraudulent and false statements concealed material facts regarding the
existence and conduct of the fraudulent scheme. It also deprived Ad Astra of the legal ability to
disregard the disputes since they were not actually prepared by and received from the consumer.

      84.        This information was concealed for the purpose of deceiving Ad Astra and others
into believing that the dispute correspondence was legitimate.

      85.        Ad Astra acted in reasonable reliance of these fraudulent misrepresentations.

      86.        As a proximate result of Defendants’ misrepresentations and the concealment of
the fraudulent scheme, Ad Astra was deprived of information necessary to appropriately act in
response to the dispute correspondence or to make an informed decision.

      87.        As a result of this reliance, Ad Astra suffered damages, in excess of $75,000.00,
arising from:

      •     Payment of additional employee salaries to handle the dispute (approximately 6,000 of
            per month);

      •     Lost collection fee revenue for debts that are disputed by Defendants, likely without
            basis, instead of paid by the consumers;

      •     Lost revenue in collection fees for files that are recalled by clients as a result of
            Defendants’ disputes;

      •     As a result of Ad Astra’s diminished collections, its reputation and relationship with its
            clients has been tarnished;

      •     Postage paid to mail dispute responses;

      •     Costs incurred with Plaintiff’s letter vendor;

      •     Costs of responding to eOscar disputes (200,000 per year at approximately $.35 each);
            and



                                                  -16-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 17 of 43




      •     Counsel fees.

      88.        These damages are continuing and subject to change once the full extent of the
fraud is uncovered in discovery.

                               FIRST CAUSE OF ACTION
    Claim against Defendants Heath, Jones, Fullman, Lexington Law, Progrexion Holdings,
      Progrexion Teleservices and Lexington Advocacy Under Racketeer Influenced and
                  Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c)

      89.        Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.

      90.        Ad Astra is a “person” as defined by 18 U.S.C. §§ 1964(c) and 1961(3).

      91.        Defendants Heath, Jones, Fullman, Lexington Law, Progrexion Holdings,
Progrexion Teleservices, and Lexington Advocacy are natural persons and corporate entities, and
are “persons” as defined by 18 U.S.C. §§ 1961(3) and 1962(c).

       A.        The Enterprise

      92.        Defendants Heath, Fullman, Jones, the Progrexion Entities, Lexington Law, and
Lexington Advocacy, as well non-defendants Lexington Law California, the Law Offices of LCM,
P.C. d/b/a Lexington Law Group Illinois, P.C., and Lexington Law North Carolina (all led and
managed by Heath), form an enterprise (the “Enterprise”).

      93.        Each Defendant is employed by or associated with the Enterprise.              These
individuals and entities thus operate as an association in fact “enterprise” within the meaning of
18 U.S.C. §§ 1961(4) and 1962(c).

      94.        The purpose of the Enterprise is to defraud debt collection agencies by profiting off
of “credit repair” services in a manner that is illegal and fraudulent. This is accomplished by (1)
the Lexington Law Association and Defendants associated therewith soliciting consumers for their
“services,” (2) the Lexington Law Association coordinating and drafting fraudulent credit repair
dispute letters (3) the Progrexion Entities disguising the place of mailing and person mailing (or
electronic forwarding, where applicable), and forwarding the fraudulent dispute letters to the
Plaintiff and others in furtherance of the fraudulent scheme. The Enterprise participants are



                                                 -17-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 18 of 43




related, and the Enterprise is longstanding and ongoing in pursuit of such common purpose. Such
participants act together for a common purpose and function as a continuing unit.

      95.           From on or about January 2014 to the present, the Enterprise has been engaged
in, and continues to be engaged in, activities that affect interstate commerce. This is apparent by
their representation of consumers nationwide, Lexington Law Associations’ offices throughout the
country, and the facilitation of fraudulent dispute letters in all fifty states.

       B.      Pattern of Racketeering Activity – Mail and Wire Fraud

      96.       Defendants conducted and participated in, directly and indirectly, the Enterprise’s
affairs through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1),
1961(5).

      97.       Defendants devised a scheme and artifice to defraud, and obtain money or property
by means of false or fraudulent pretenses, representations and promises in the ways described more
fully above and including:

                •    Using aggressive marketing techniques to obtain consumer-clients;
                •    Concealing the fraudulent nature of their credit repair services, and charging a
                     fee(s) for such services;
                •    Marketing and providing credit repair services that were illegal to provide in
                     the manner in which they were provided;
                •    Utilizing unenforceable powers of attorney;
                •    Forging consumers’ signatures on dispute correspondence;
                •    Misrepresenting the source and author of the dispute correspondence, and
                     concealing that such correspondence had been drafted by, and from, the
                     Defendants.
                •    Causing the U.S. Postal Service mails and interstate wires to be used (or other
                     private and commercial interstate carriers), or reasonably knowing that the U.S.
                     Postal Service mails and interstate wires would be used (or other private and
                     commercial interstate carriers) to transmit forged, disguised, illegal
                     communications in interstate commerce.



                                                  -18-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 19 of 43




      98.       Defendants have used the mails and interstate wires in connection with every
fraudulent dispute correspondence they have sent, and each use of the mails and wires was in
furtherance of the fraudulent scheme and enabled Defendants to obtain money and property from
Plaintiffs as partially described above and below as follows:

                                       Racketeering Acts
 Racketeering Act No. 1         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “JH,” in the language and format (including
                                mailing format) of other disputes from Defendants, dated July
                                28, 2017 (purportedly from a Texas address, but the envelope
                                did not contain a Texas postmark)
 Racketeering Act No. 2         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “JP,” in the language and format (including mailing
                                format) of other disputes from Defendants, dated July 28, 2017
                                (purportedly from a Texas address, but the envelope did not
                                contain a Texas postmark)
 Racketeering Act No. 3         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “JH,” in the language and format (including mailing
                                format) of other disputes from Defendants, dated July 28, 2017
                                (purportedly from a Texas address, but the envelope did not
                                contain a Texas postmark)
 Racketeering Act No. 4         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “AP,” in the language and format (including
                                mailing format) of other disputes from Defendants, dated
                                August 9, 2017 (purportedly from a Virginia address—this time
                                it had a Virginia postmark)
 Racketeering Act No. 5         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “AB,” in the language and format (including
                                mailing format) of other disputes from Defendants, dated
                                August 11, 2017 (purportedly from a Texas address, but the
                                envelope did not contain a Texas postmark)
 Racketeering Act No. 6         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “SF,” in the language and format (including mailing
                                format) of other disputes from Defendants, dated August 14,
                                2017 (purportedly from an Arkansas address, but the envelope
                                did not contain an Arkansas postmark)
 Racketeering Act No. 7         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “TB,” in the language and format (including
                                mailing format) of other disputes from Defendants, dated
                                August 17, 2017 (purportedly from a Nevada address, but the
                                envelope did not contain a Nevada postmark)
 Racketeering Act No. 8         Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                Office from “JH,” in the language and format (including mailing
                                format) of other disputes from Defendants, dated August 17,


                                               -19-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 20 of 43




                                  2017 (purportedly from a Texas address, but the envelope did
                                  not contain a Texas postmark)
 Racketeering Act No. 9           Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                  Office from “RS,” in the language and format (including
                                  mailing format) of other disputes from Defendants, dated
                                  August 18, 2017 (purportedly from a Texas address, but the
                                  envelope did not contain a Texas postmark)
 Racketeering Act No. 10          Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                  Office from “NS,” in the language and format (including
                                  mailing format) of other disputes from Defendants, dated
                                  August 18, 2017 (purportedly from an Illinois address, but the
                                  envelope did not contain an Illinois postmark);
 Racketeering Act No. 11          Dispute Letter sent to Plaintiff in Kansas through the U.S. Post
                                  Office from “KH,” in the language and format (including
                                  mailing format) of other disputes from Defendants, dated
                                  October 20, 2017 (purportedly from a Missouri address, but the
                                  envelope did not contain a Missouri postmark).
 Racketeering Act No. 12          Approximately 800,000 eOscar disputes received by Plaintiff
                                  electronically in Kansas, via the browser-based eOscar portal,
                                  over the past four (4) years (see http://www.e-oscar.org/)

All in violation of 18 U.S.C. §§ 1341 and 1343.

      99.       Each of the thousands of uses of the mails and interstate wires made in connection
with Defendants’ fraudulent scheme, spanning a period of no fewer than four (4) years, constitutes
a separate instance of mail and/or wire fraud within the meaning of 18 U.S.C. §§ 1341 and 1343,
and taken together, constitute a “pattern of racketeering activity” within the meaning of 18 U.S.C.
§§ 1961 and 1962.

      100.      Defendants knew that the interstate mails and interstate wires were/are utilized in
furtherance of the fraudulent scheme, and/or it was reasonably foreseeable that the mails and
interstate wires would be used.

      101.      In connection with Defendants’ fraudulent scheme, the acts of racketeering activity
are related and occurred over a substantial period of time within ten (10) years of each other. The
racketeering acts are an ongoing part of Defendants’ regular way of doing business. The predicate
acts are ongoing and have been and will be repeated.




                                                -20-
152153.00601/107065388v.6
        Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 21 of 43




        C.      Relationship of Pattern of Racketeering Activity to Enterprise

        102.    The pattern of racketeering activity described above is integral to Defendants’
fraudulent scheme. Without engaging in mail and wire fraud, Defendants’ would be unable to
offer their fraudulent credit repair scheme to consumers, and would be unable to transmit the
fraudulent dispute correspondence in the manner that they do.

        103.    Defendants’ conduct involves and continues to pose a threat of long term
criminality and has continued to the present.

        104.    Each Defendant operates and manages the Enterprise’s affairs as described above.

        105.    Each Defendant intended to engage in the predicate acts with intent to defraud, with
knowledge that such acts were wrongful and illegal.

        106.    As a direct and proximate result of these RICO violations, Ad Astra was injured
within the meaning of 18 U.S.C. § 1964(c).

        107.    By reason of Defendants violations described above, Ad Astra is entitled to recover
compensatory and treble damages in an amount in an amount to be determined at trial, in
accordance with 18 U.S.C. § 1964, with interest from the date of loss and reasonable attorneys’
fees.

                             SECOND CAUSE OF ACTION
    Claim against Defendants Heath, Jones, Fullman, Lexington Law, Progrexion Holdings,
      Progrexion Teleservices and Lexington Advocacy Under Racketeer Influenced and
                  Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(d)

        108.    Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.

        109.    Ad Astra is a “person” as defined by 18 U.S.C. §§ 1964(c) and 1961(3).

        110.    Defendants Heath, Jones, Fullman, Lexington Law, Progrexion Holdings,
Progrexion Teleservices and Lexington Advocacy are “persons” as defined by 18 U.S.C. §§
1961(3) and 1962(d).




                                                -21-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 22 of 43




      111.      As described in Paragraphs 92 – 95 above, the Enterprise is an association in fact
within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c), which Enterprise has, at all relevant
times, been engaged in activities that are in and affect interstate commerce in carrying out the
fraudulent credit repair scheme.

      112.      Each Defendant has unlawfully, knowingly, and willfully combined, conspired,
confederated, and agreed together and with others to violate the provisions of 18 U.S.C. § 1964(c),
including numerous predicate acts of mail and wire fraud described above, and has thus violated
18 U.S.C. § 1962(d). Defendants agreed to conduct or participate, directly or indirectly, in the
conduct, management, or operation of the Enterprise’s affairs through a pattern of racketeering
activity in the furtherance of the fraudulent scheme, including the acts of racketeering set forth
above.

      113.      The Defendants took overt acts in furtherance of the scheme and to conceal the
existence of the scheme from Ad Astra and others, including its own clients, as set forth above.

      114.      By reason of the violation of 18 U.S.C. § 1964(d) committed by Defendants, Ad
Astra was injured within the meaning of 18 U.S.C. § 1964(c), the full extent of which will be
determined t trial.

      115.      By reason of Defendants’ violations described above, Ad Astra is entitled to three
times its actual damages in accordance with 18 U.S.C. § 1964, with interest from the date of loss
and reasonable attorneys’ fees.

                               THIRD CAUSE OF ACTION
         Claim against Heath, Jones, and Fullman Under Racketeer Influenced and
   Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c) [Alternative RICO Enterprise]

      116.      Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.

      117.      Ad Astra is a “person” as defined by 18 U.S.C. §§ 1964(c) and 1961(3).

      118.      Defendants Heath, Jones, and Fullman are “persons” as defined by 18 U.S.C. §§
1961(3) and 1962(c).




                                               -22-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 23 of 43




       A.       The Alternative Enterprise

      119.      Lexington Law is an “enterprise” (the “Alternative Enterprise”) within the meaning
of 18 U.S.C. §§ 1961(4) and 1962(c). The Defendants operate and manage the Alternative
Enterprise’s affairs, and each Defendant is employed by or associated with the Alternative
Enterprise.

      120.      The purpose of the Alternative Enterprise is to defraud debt collection agencies by
profiting off of “credit repair” services in a manner that is illegal and fraudulent. This is
accomplished by (1) Heath, Jones, Fullman, through Lexington Law, soliciting consumers for their
“services,” (2) Heath, Jones, Fullman, through Lexington Law, coordinating and drafting the
fraudulent credit repair dispute letters, and (3) Heath, Jones, Fullman, through Lexington Law,
disguising the place of mailing and person mailing (or electronic forwarding, where applicable),
and forwarding the fraudulent dispute letters to Plaintiff and others in furtherance of the fraudulent
scheme.

      121.      From on or about January 2014 to the present, the Alternative Enterprise has been
engaged in, and continues to be engaged in, activities that affect interstate commerce. This is
apparent by its representation and solicitation of consumers nationwide, Lexington Law’s offices
throughout the country, and Defendants’ facilitation of fraudulent dispute letters in all fifty states.

      B.        Pattern of Racketeering Activity – Mail and Wire Fraud

      122.      Defendants conducted and participated in, directly and indirectly, the Alternative
Enterprise’s affairs through a pattern of racketeering activity within the meaning of 18 U.S.C. §§
1961(1), 1961(5). This pattern of mail and wire fraud is set forth above at Paragraphs 96 - 101.

      123.      Defendants knew that the interstate mails and interstate wires were/are utilized in
furtherance of the fraudulent scheme, and/or it was reasonably foreseeable that the interstate mails
and interstate wires would be used.

      124.      Each of the thousands of uses of the mails and interstate wires made in connection
with Defendants’ fraudulent scheme, spanning a period of no fewer than four (4) years, constitutes
a separate instance of mail and/or wire fraud within the meaning of 18 U.S.C. §§ 1341 and 1343,




                                                 -23-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 24 of 43




and taken together, constitute a “pattern of racketeering activity” within the meaning of 18 U.S.C.
§§ 1961 and 1962.

      125.      In connection with Defendants’ fraudulent scheme, the acts of racketeering activity
are related and occurred over a substantial period of time within ten (10) years of each other. The
racketeering acts are an ongoing part of Defendants’ regular way of doing business. The predicate
acts are ongoing and have been and will be repeated.

       C.       Relationship of Pattern of Racketeering Activity to Enterprise

      126.      The pattern of racketeering activity described above is integral to Defendants’
fraudulent scheme. Without engaging in mail and wire fraud, Defendants would be unable to offer
their fraudulent credit repair scheme to consumers, and would be unable to transmit the fraudulent
dispute correspondence in the manner that they do.

      127.      Defendants’ conduct involves and continues to pose a threat of long term
criminality and has continued to the present.

      128.      Each Defendant operates and manages the Alternative Enterprise’s affairs as set
forth above.

      129.      Each Defendant intended to engage in the predicate acts with intent to defraud, with
knowledge that such acts were wrongful and illegal.

      130.      As a direct and proximate result of these RICO violations, Ad Astra was injured
within the meaning of 18 U.S.C. § 1964(c).

      131.      By reason of Defendants violations described above, Ad Astra is entitled to recover
compensatory and treble damages in an amount to be determined at trial, in accordance with 18
U.S.C. § 1964, with interest from the date of loss and reasonable attorneys’ fees.

                              FOURTH CAUSE OF ACTION
          Claim against Heath, Jones, and Fullman Under Racketeer Influenced and
   Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(d) [Alternative RICO Conspiracy]

      132.      Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.


                                                -24-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 25 of 43




      133.      Ad Astra is a “person” as defined by 18 U.S.C. §§ 1964(c) and 1961(3).

      134.      Defendants Heath, Jones, and Fullman are “persons” as defined by 18 U.S.C. §§
1961(3) and 1962(d).

      135.      As set forth at Paragraphs 119 – 121 above, Lexington Law is an “enterprise” within
the meaning of 18 U.S.C. §§ 1961(4) and 1962(c), which Alternative Enterprise has, at all relevant
times, been engaged in activities that are in and affect interstate commerce in carrying out the
fraudulent credit repair scheme.

      136.      Moreover, each Defendant has unlawfully, knowingly, and willfully combined,
conspired, confederated, and agreed together and with others to violate the provisions of 18 U.S.C.
§ 1964(c), including committing numerous predicate acts of mail and wire fraud described above,
and has thus violated 18 U.S.C. § 1962(d). Defendants agreed to conduct or participate, directly
or indirectly, in the conduct, management, or operation of the Alternative Enterprise’s affairs
through a pattern of racketeering activity in the furtherance of the fraudulent scheme, including
the acts of racketeering set forth above.

      137.      The Defendants took overt acts in furtherance of the scheme and to conceal the
existence of the scheme from Ad Astra and others, including its own clients, as set forth above.

      138.      By reason of the violation of 18 U.S.C. § 1964(d) committed by Defendants, Ad
Astra was injured within the meaning of 18 U.S.C. § 1964(c), the full extent of which will be
determined at trial.

      139.      By reason of Defendants violations described above, Ad Astra is entitled to three
times its actual damages in accordance with 18 U.S.C. § 1964, with interest from the date of loss
and reasonable attorneys’ fees.

                                FIFTH CAUSE OF ACTION
     Claim against Defendants for Tortious Interference with Existing Contractual Relations

      140.      Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.

      141.      Ad Astra has servicing agreements with each creditor-client.


                                               -25-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 26 of 43




      142.        Under those servicing agreements, Ad Astra is required to use its best efforts to
satisfy certain collections benchmarks. Also, Ad Astra is only paid for its services if it successfully
collects debts.

      143.        As industry experts, Defendants were aware of the existence and general terms of
these servicing agreements and their interference was intentional and unjustified.

      144.        Not only did the overwhelming influx of fraudulent dispute correspondence
interfere with Ad Astra’s ability to collect debts from the affected consumers, it frustrated Ad
Astra’s ability to achieve certain client benchmarks. In addition, the resources Ad Astra had to
divert to handle the dispute correspondence undermined its ability to successfully collect debts for
its clients, or to hit certain client benchmarks.

      145.        Defendants acted maliciously and improperly, for an improper purpose—they had
no legal or actual right to charge consumers to send misrepresentative, unauthorized, dispute
correspondence, and they were aware of the damage that Plaintiff would suffer, and continues to
suffer.

      146.        As a direct and proximate result of this interference, not only was Ad Astra’s
reputation with its clients jeopardized, Ad Astra suffered losses by way of lost revenue because of
Defendants’ fraudulent conduct.

                                   SIXTH CAUSE OF ACTION
                                 Claim against Defendants for Fraud

      147.        Ad Astra repeats and incorporates by reference the foregoing paragraphs of the
Complaint as though fully set forth herein.

      148.        For the reasons described herein, Defendants knowingly misrepresented the source
and author of the dispute correspondence.

      149.        The misrepresentations were material.

      150.        Defendants intentionally concealed the source and author of the dispute
correspondence because they knew it would not have the same legal effect under the FCRA. They




                                                    -26-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 27 of 43




took these actions with intentional disregard for the truth and intent to deceive Plaintiffs into acting
differently than they otherwise would.

      151.        Ad Astra justifiably relied on the statements made in the dispute correspondence
because there was no indication on the face of the correspondence that they came from a source
other than the consumers. As a result, Ad Astra undertook the extensive administrative processing
that is required when dispute correspondence is received “directly from the consumer.”

      152.        Plaintiff was damaged by Defendants’ conduct as set forth herein.

                                   PRAYER FOR RELIEF

           WHEREFORE, Ad Astra prays that judgment be entered in its favor against each and every
Defendant, jointly and severally, as follows:

      1.       Compensatory damages, in excess of $75,000.00, for, among other things,
               the payment of additional salaries to process the fraudulent disputes,
               postage, letter vendor costs, eOscar response costs, counsel fees, damage
               to Plaintiff’s reputation with its clients, and lost revenue, the full extent of
               which to be determined at trial;

      2.       Trebling of compensatory damages under 18 U.S.C. § 1964(c);

      3.       Punitive damages in an amount to be determined at trial;

      4.       A judgment declaring that Defendants have committed the violations of
               law alleged in this action;

      5.       An order enjoining and prohibiting Defendants from further engaging in
               conduct associated with the fraudulent scheme, as set forth in 18 U.S.C. §
               1964(a);

      6.       Costs and reasonable attorneys’ fees as provided by 18 U.S.C. § 1964(c)
               and other applicable law;

      7.       Pre and post judgment interest; and



                                                    -27-
152153.00601/107065388v.6
      Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 28 of 43




      8.     Such other damages and other or further relief as this Court may deem just
             and proper.

                                          JURY DEMAND


        Plaintiff demands trial by jury in this Court with respect to all issues so triable.

Dated: Wichita, Kansas
       May 21, 2018

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                                                 -28-
152153.00601/107065388v.6
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 29 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 30 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 31 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 32 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 33 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 34 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 35 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 36 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 37 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 38 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 39 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 40 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 41 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 42 of 43
Case 6:18-cv-01145-JWB-KGS Document 1 Filed 05/21/18 Page 43 of 43
